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                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF OKLAHOMA


UNITED STATES OF AMERICA,                    )
                                             )
                      Plaintiff,             )
                                             )
                v.                           )           Case No.       09-CR-043-SPF
                                             )
LINDSEY KENT SPRINGER,                       )
OSCAR AMOS STILLEY,                          )
                                             )
                      Defendants.            )


      UNITED STATES’ CONSOLIDATED RESPONSE TO DEFENDANTS’
          MOTIONS TO SUPPRESS AND FOR FRANKS HEARING

       The United States of America, by and through its attorneys, David E. O’Meilia,

United States Attorney for the Northern District of Oklahoma, and Kenneth P. Snoke,

Assistant United States Attorney, and Charles A. O’Reilly, Trial Attorney, United States

Department of Justice, hereby responds in opposition to Defendant Lindsey Kent Springer’s

Motion to Suppress and For Franks Hearing, and Defendant Oscar Amos Stilley’s Motion

to Suppress All Testimony and Documents From Oscar Stilley to the Grand Jury, filed

June 1, 2009.

       A.       Defendant Springer Is Not Entitled To A Frank’s Hearing

       A defendant is only entitled to a Franks hearing where the defendant “makes a

substantial preliminary showing that a false statement knowingly and intentionally, or with

reckless disregard for the truth, was included by the affiant in the warrant affidavit, and if the

allegedly false statement is necessary to the finding of probable cause.” Franks v. Delaware,
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438 U.S. 154, 155-56 (1978); see also United States v. Coral-Coral, 899 F.2d 927, 933 (10th

Cir. 1990); United States v. Orr, 864 F.2d 1505, 1507 (10th Cir. 1988). Defendant Springer

fails on each prong of the test.

       As an initial matter, contrary to Defendant Springer’s caption entitled “Facts Not In

Dispute,” many of the allegations raised in this section of Defendant Springer’s

Memorandum of Law in Support of Motion for Frank’s [sic] Hearing and Motion to Suppress

Evidence, are not just disputed by the Government, they are demonstrably false.

       For example, and not by way of limitation, the following statements in Defendant

Springer’s “Facts Not in Dispute” section of his motion are disputed because they are

incorrect:

       C      “On July 3, 2001, an ongoing criminal investigation of Lindsey Springer and

              Bondage Breaker’s Ministry was active.” Docket #75 at 2.

       C      “On March 6, 2003, an active criminal ‘referral’ was ongoing against

              Springer.” Docket #75 at 2.

       C      “On October 14, 2003, Criminal Investigation is actively involved in hot

              pursuit of Springer for non filing.” Docket #75 at 2.

       C      IRS Special Agent Donna Meadors “secretively” applied for the position of

              Criminal Investigator. Docket #75 at 2.




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       C      “On January 24, 2004, Special Agent Donna Meadors, in disguise as a

              ‘Revenue Agent’ sent Springer a letter involving a 6700 investigation she was

              pursuing.”   Docket #75 at 3.

       C      “Meadors also informed Springer that she was working with no other person

              and the information Springer shared with her was not being reviewed by any

              other person.” Docket #75 at 3.

       C      “Ms. Meadors sent Springer a letter stating he was not found to have

              committed any acts prohibited by section 6700 on December 2, 2004.”

              Docket #75 at 3.

Nothing in Defendant Springer’s submissions to the Court supports these assertions and, in

several cases, Defendant Springer’s own submissions refute his assertions. For example,

Docket #75-7, which appears to be an email dated March 6, 2003, between IRS employees,

states that the IRS “could be up against some stiff competition if we decide to work him”

(emphasis added). This email demonstrates than on March 6, 2003, Defendant Springer was

not under criminal referral. At best, Defendant Springer confuses the Internal Revenue

Service’s civil attempts to collect Defendant Springer’s delinquent taxes for the years 1990

through 1996 with criminal investigations that were considered, initiated and discontinued

during the time period Defendant Springer references. Additionally, Special Agent Donna

Meadors was not an Internal Revenue Service Special Agent until 2005; she was not “in

disguise” as a Revenue Agent during 2004. Revenue Agent was her position and title.



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Neither did Special Agent Meadors “secretively” apply for the position of Special Agent.

Furthermore, even if Defendant Springer’s allegations were correct, they are irrelevant with

respect to his burden of demonstrating the need for a Franks hearing.

       Defendant Springer asserts that “Springer has demonstrated substantial and

convincing evidence that a Frank’s [sic] hearing should be held on July 2, 2009.”

Docket #74 at 1. However, Defendant Springer fails to clearly identify any allegedly false

statements included by the affiant in the warrant affidavit until page 24.1 Towards the end

of Defendant Springer’s lengthy motion, Defendant Springer makes the following allegations

of false statements included in the search warrant affidavit:

       C       “. . . the investigation of Eddy Patterson was expanded to include Lindsey

               Springer . . ..”

       As indicated by Attachment A (Tax Division authorization of expansion of Grand Jury

investigation), this statement is true. The expansion of the Patterson grand jury investigation

to include Defendant Springer as a target was approved by the Tax Division by letter dated

June 10, 2005. Internal records of the U.S. Attorney’s Office show that a “matter” was

opened as to Lindsey Springer on August 11, 2004.


       1
                The Government notes that Defendant Springer’s motion exceeds the page limit
imposed by the local rules of the United States District Court for the Northern District of
Oklahoma. Rule 1.2 of the Local Criminal Rules of the United States District Court for the
Northern District of Oklahoma provides that, “where appropriate in a criminal context, Civil
Local Rules . . . 7.2 (Briefs) . . . are also deemed applicable in criminal cases. Local Civil Rule
7.2(c) provides that “[n]o brief shall be submitted that is longer than twenty-five (25) typewritten
pages without leave of Court.” Defendant Springer’s Motion and Memorandum in Support of
Motion to Suppress and For Franks Hearing total thirty-eight pages.

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       C       “Patterson was represented by Stilley during trial and sentencing.”

       In fact, while Defendant Stilley represented Patterson prior to and through the trial,

Patterson fired Defendant Stilley prior to sentencing. Therefore, the phrase “and sentencing”

is incorrect and should be redacted from the affidavit.2

       C       Defendant Springer takes exception to the inclusion in the affidavit of

               Patterson’s statements, including those in which Patterson said that any fees

               paid to Defendant Springer were for services in handling Patterson’s criminal

               case.

       The statements cited are what Patterson told the investigating agents. The focus of

a Franks motion must be on the veracity of the affiant's statements, not statements made by

an informant. United States v. Rodriguez-Suazo, 346 F.3d 637, 648 (6th Cir. 2003) (the

defendant's attack on the informant's veracity was insufficient to meet his burden for a

Franks hearing); United States v. Green, 178 F.3d 1099, 1108 (10th Cir.1999) ( Franks

permits a defendant to “challenge the veracity of statements made by a search warrant affiant,

not the veracity of statements made by a confidential informant to the affiant.”) Also,

Special Agent Shern included in the affidavit Defendant Springer’s self-serving statement

to Patterson “that he [Defendant Springer] did not charge fees, but took money for his



       2
               Special Agent Shern was not involved in the investigation or prosecution of Eddy
and Judith Patterson. Special Agent Shern relied on reports of the investigation and trial events.
The docket sheet for Case No. 03-CR-055 indicates that Mr. Patterson fired Stilley and hired new
counsel prior to his sentencing, but after he received his Presentence Report and after his wife
(and co-defendant) had been sentenced.

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ministry.” Docket #75-20 at 4. Thus, contrary to Defendant Springer’s implications to the

contrary, Defendant Springer’s theory that the payments were gifts was included in the

affidavit presented to the Magistrate Judge who issued the search warrant.

       On pages 27 through 31 of Docket #75, Defendant Springer takes exception to the

affidavit’s description of the moneys paid by Patterson to Defendant Springer. The affiant,

Special Agent Shern, relying both on the financial records available prior to the execution

of the search warrant and the memoranda of interview with Patterson, accurately related the

sequence and details of payments Patterson made to Defendant Springer. Defendant Springer

ignores the evidence of payments from numerous other individuals for whom Defendant

Springer provided legal assistance that are included in paragraphs eight through ten of the

affidavit.   Defendant Springer further ignores the detailed acquisition of automobiles

contained in paragraph sixteen of the search warrant affidavit, which shows Defendant

Springer’s ownership of nine automobiles with purchase prices totaling more than $200,000,

including the following: 2004 Lexus R33; 2004 Ford F-350; 1999 Mercedes G500; 1994

Mercedes G300; 2003 Chevrolet Corvette.

       Defendant Springer incorrectly asserts that “[t]here is no evidence of Springer being

paid for any services rendered whatsoever and Shern knew it from the first time he looked

into the facts of this part of his statement.” Docket #75 at 31. Contrary to Defendant

Springer’s claim, there was sufficient evidence that Defendant Springer earned income, and




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evaded tax on that income, to enable the grand jury to return the instant indictment against

Defendants Springer and Stilley.3

       With the exception of the erroneous inclusion of the words “and sentencing” to

describe the duration of the attorney services Defendant Stilley provided Patterson,

Defendant has failed to make any showing, let alone a substantial showing, that false

statements were knowingly and intentionally included in the search warrant affidavit.

Redacting the words “and sentencing” in no way impacts the probable cause determination.

Therefore, Defendant Springer’s motion for a Franks hearing should be denied.

       B.     Defendant Springer’s Assertion that Magistrate Lacked
              Authority to Issue Search Warrant is Frivolous

       To satisfy the search warrant requirement, an impartial judicial officer must assess

whether the government has probable cause to make an arrest, to conduct a search, or to seize

evidence. Warden v. Hayden, 387 U.S. 294, 301-02 (1967). The magistrate must consider

the facts and circumstances presented in the warrant application, including the supporting

affidavit, in a practical, common-sense manner and make an independent assessment

regarding probable cause. Illinois v. Gates, 462 U.S. 213, 238 (1983).




       3
             Defendant Springer states, without attribution, that Special Agent “Shern is
known for some unbelievable claims.” Docket #75 at 31, n. 1. This is utter fabrication,
and the Government objects to this transparent attempt at character assassination.

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       Defendant Springer asserts that “no ‘Affidavit’ was therein any discovery . . ..”

Docket #75 at 17. Defendant Springer is in error. A copy of the signed search warrant

affidavit can be found in the discovery at Bates Numbers SW04679 through SW04701.

       Defendant Springer also asserts that “the record appears to show that the purported

‘affidavit’ was never properly verified and sworn to by someone authorized to administer

oaths.” Docket #75 at 18. Defendant Springer is again wrong. A quick review of the

document bearing Bates Number SW04701, provided to Defendants pursuant to discovery,

clearly shows United States Magistrate Judge Frank H. McCarthy’s signature immediately

below the phrase “Subscribed and sworn to before me this 15th day of Sept. 2005.” The

only confusion alluded to by Defendant Springer arises from Defendant Springer’s attempts

to obfuscate the facts.

       On September 15, 2005, IRS Special Agent Shern provided a sworn affidavit

establishing probable cause that evidence evincing violations of Title 26, United States Code

Sections 7201 and 7203 would be found in Defendant Springer’s residence, 25758 South

201st West Avenue, Kellyville, Oklahoma. United States Magistrate Judge McCarthy, an

impartial judicial officer, assessed the affidavit to decide whether the Government had

presented probable cause to conduct a search and seize evidence, and determined that the

Government did have probable cause.

       The Government invites Defendant Springer to withdraw his motion, at least in as

much as it is based upon the erroneous assertion that the affidavit was not signed by a judicial



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officer. If Defendant Springer declines to do so, Defendant Springer’s motion to suppress

because the Magistrate Judge lacked authority to issue the search warrant should be denied.

       C.     Defendant Springer Identifies No Basis
              to Suppress Evidence Seized from His Home

       “A defendant challenging a search pursuant to a warrant has the burden of proof.”

United States v. Harrison, 2009 WL 1549191, *1 (10th Cir. 2009) (citing United States v.

Carhee, 27 F.3d 1493, 1496 (10th Cir.1994) Defendant Springer asserts there was “not one

shred of probable cause to believe any of the ‘evidence sought by [Special Agent] Shern in

his unsworn affidavit would be located in the home [Defendant] Springer lives in.’”

Docket #75 at 32. As asserted in the search warrant affidavit, Defendant Springer maintained

no office. As indicated in paragraphs 24 and 25 of the search warrant affidavit, there was

no evidence Defendant Springer worked out of anywhere besides his residence. Special

Agent Shern identified that based upon his training and experience, he knew that individuals

providing legal and tax advice, such as Defendant Springer, maintained records. All of the

evidence gathered, combined with Special Agent Shern’s training and experience, indicated

that records, including computer records, would be maintained in Defendant Springer’s

home. “[A] law enforcement agent's opinion, based upon his professional expertise, that

evidence of illegal activity will be found in the place to be searched, is entitled to

consideration in our determination of whether probable cause existed at the time a warrant

issued.” United States v. Mathis, 357 F.3d 1200, 1205 (10th Cir. 2004).




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        D.     The Search Warrant Should be Upheld Under United States v. Leon

        “The first notion to be remembered in considering the good faith principle is the

 presumption created in Leon that when an officer relies upon a warrant, the officer is acting

 in good faith.” United States v. Cardall, 773 F.2d 1128, 1133 (10th Cir. 1985); see United

 States v. Leon, 468 U.S. 897, 922 (1984) (“Searches pursuant to a warrant will rarely require

 any deep inquiry into reasonableness, for a warrant issued by a magistrate normally suffices

 to establish that a law enforcement officer has acted in good faith in conducting the search.”)

 (internal quotations and citations omitted).

        “It is only when [an executing officer's] reliance was wholly unwarranted that good

 faith is absent.” Cardall, 773 F.2d at 1133; see also United States v. Wright, 791 F.2d 133,

 135 (10th Cir. 1986) (concluding that where the affidavit was not “devoid of factual

 support,” officers who executed the search warrant were “entitled to rely in good faith upon

 the decision of that magistrate as provided in Leon and Cardall.”); Herring v. United States,

 ___ U.S. ___, ___, 129 S.Ct. 695, 702, 172 L.Ed.2d 496 (2009) (“[S]ince Leon, we have

 never applied the [exclusionary] rule to exclude evidence obtained in violation of the Fourth

 Amendment, where the police conduct was [merely negligent].”)

        Thus, even were the Court to find that statements in the search warrant affidavit

 should be disregarded in analyzing probable cause, or if the Court were to find inadequate

 probable cause, the “good faith” exception to the exclusionary rule, as set forth in United

 States v. Leon, 468 U.S. 897 (1984), negates suppression.



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        E.     Defendant Stilley Not Entitled to Suppression of Grand Jury Testimony
               and Documents Provided to Grand Jury.

        Defendant Stilley’s motion confuses the law, the facts, and makes a mishmash out of

 the English language. Defendant Stilley also appears to be responding to the Government’s

 Consolidated Response to Defendant’s Motions to Dismiss, which compounds the confusion.

 The Government attempts here to answer Defendant Stilley’s allegations and assertions, but

 is unsure what Defendant Stilley means by various unclear verbiage, including “de facto

 change of the law.”

        What is clear is that Defendant Stilley fabricates with impunity.          Contrary to

 Defendant Stilley’s statement, there is no evidence that Special Agent Brian Shern “knew at

 all times that he participated in the subpoena of Oscar Stilley that Oscar Stilley was a target

 of the investigation.” The evidence establishes that Special Agent Shern believed that the

 only target of the Grand Jury investigation was Defendant Springer. The Government resents

 and objects to even the insinuation, let alone the accusation, that Special Agent Shern

 intentionally made any misrepresentation. As indicated in the Government’s Consolidated

 Response to Defendant’s Motions to Dismiss (Docket #71), Special Agent Shern did not

 provide target warnings to Defendant Stilley because Special Agent Shern understood

 Defendant Stilley to be a witness in the investigation of Defendant Springer. As indicated

 by correspondence sent to and received by the Internal Revenue Service and the Department

 of Justice, Tax Division, Defendant Stilley was not considered to be a target of the Grand

 Jury investigation until 2007. See Attachment B (United States Attorney’s Office request

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 for Tax Division assistance), Attachment C (United States Attorney’s Office request to

 expand Grand Jury investigation), Attachment D (Internal Revenue Service request to expand

 Grand Jury investigation), and Attachment E (Tax Division authorization of expansion of

 Grand Jury investigation). Special Agent Shern never lied to Defendant Stilley. The

 documentation provided by the Government, consistent with the government’s discovery

 obligations, in no way evinces that Special Agent Shern knew Defendant Stilley was a target

 on or prior to May 17, 2006, when in response to Defendant Stilley’s query, Special Agent

 Shern stated that Defendant Stilley was not under investigation.

        Defendant Stilley asserts that the form entitled “Information Needed to Issue a

 ND/OK Grand Jury Subpoena” that was completed with respect to Defendant Stilley’s grand

 jury subpoena “would most likely incriminate [Special Agent Shern] for his violation of the

 constitution and other laws or rules of the United States.” Docket #73 at 4. Defendant

 Stilley’s libelous conjecture is without merit.     As indicated by Attachment F, dated

 September 22, 2005,4 Special Agent Shern designated only Defendant Springer to be a target

 of the Grand Jury investigation. Special Agent Shern left blank the line “Is Advice of Rights

 or target/subject warning needed” with a highlighted question mark because, as a relatively

 new agent, he did not know what to indicate on this line. Special Agent Shern included a




        4
                Attachment F, a standard form completed to obtain a grand jury subpoena,
 is neither evidence in the case, nor is Attachment F exculpatory. Thus, the Government
 did not include Attachment F in the already voluminous discovery.

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 request that the Assistant U.S. Attorney assigned to the investigation review the subpoena

 request.

        A review of the subpoena indicates that Defendant Stilley did not have to appear

 before the grand jury in March 2006; Defendant Stilley could have complied with the

 subpoena simply by delivering the subpoenaed records to Special Agent Shern.

 Attachment G.

        On May 17, 2006 during a telephone conversation between Special Agent Shern and

 Defendant Stilley, two months after Defendant Stilley’s grand jury testimony and his

 presentation of twenty-one copies of the bound document entitled Response to Subpoena to

 the grand jury (Attachment H - Discovery GJ707 to GJ732), Special Agent Shern informed

 Defendant Stilley that he was not under investigation in response to Defendant Stilley’s

 query. However, Special Agent Shern was not lying when he made the statement to

 Defendant Stilley, and Special Agent Shern did not make the statement “in order to get Oscar

 Stilley to testify before the grand jury.” 5 Importantly, no misrepresentation regarding

 Defendant Stilley’s status, inadvertent or otherwise, was made prior to Defendant Stilley’s

 only appearance before the grand jury on March 9, 2006.

        A defendant is not entitled to suppression of his testimony when not advised of target

 status prior to testifying. United States v. Myers, 123 F.3d 350, 355-56 (6th Cir. 1997).



        5
                Defendant Stilley, a criminal defense attorney, testified before the grand
 jury on March 9, 2006; his subsequent grand jury appearance was excused. Defendant
 Stilley did not reappear before the grand jury after March 9, 2006.

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 Neither the Self-incrimination Clause nor the Due Process Clause of the Fifth Amendment

 require the government to notify a grand jury witness of their target status. “Because target

 witness status neither enlarges nor diminishes the constitutional protection against compelled

 self-incrimination, potential-defendant warnings add nothing of value to protection of Fifth

 Amendment rights.” United States v. Washington, 431 U.S. 181, 190 (1977). See Myers,

 123 F.3d at 355-56 (Defendant, who was target of grand jury investigation, was not entitled

 to suppression of his grand jury testimony based on government’s failure to provide target

 letter prior to his testimony). The remedy for this type of violation of Departmental policy

 is to bring the matter to the attention of the Office of Professional Responsibility. Myers, 123

 F.3d at 357-58; United States v. Gillespie, 974 F.2d 796, 802 (7th Cir. 1992); United States

 v. Pacheco-Ortiz, 889 F.2d 301, 310-11 (1st Cir. 1989); see also United States v. Gross, 41

 F.Supp.2d 1096, 1097 (C. D. Cal. 1999).

        As became apparent after the documents from the Eddy Patterson et al. prosecution

 were unsealed, the Assistant U.S. Attorneys handling the investigation and prosecution of

 the Pattersons considered Defendants Springer and Stilley to be under investigation as early

 as May 2004.      Prior to reviewing the document titled Joint Sentencing Agreement

 (Docket #75-22), neither Assistant U.S. Attorney Kenneth Snoke, IRS Special Agent Brian

 Shern, nor the undersigned, were aware that Defendant Stilley was under investigation prior

 to his March 9, 2006 grand jury appearance. Records of both the United States Department




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 of Justice, Tax Division, and the Internal Revenue Service, indicated that the investigation

 of Defendant Stilley commenced well after Defendant Stilley’s grand jury appearance.

        These records indicate that in June of 2005, the Internal Revenue Service requested,

 and the Tax Division authorized, the expansion of the Patterson grand jury investigation to

 include Defendant Springer. Attachments A and I. These records further indicate that in

 January of 2007, ten months after Defendant Stilley’s March 9, 2006 grand jury appearance,

 the Internal Revenue Service and the Tax Division expanded the ongoing grand jury

 investigation to include Defendant Stilley as a target. Attachment D and E.

        F.     Conclusion

               For the foregoing reasons, each of Defendants’ motions to suppress should be

 denied. Furthermore, Defendant Springer’s Motion for Franks Hearing should be denied.

                                           Respectfully submitted,

                                           DAVID E. O’MEILIA
                                           UNITED STATES ATTORNEY


                                            /s/ Charles A. O’Reilly
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                              CERTIFICATE OF SERVICE

        I hereby certify that on the 15 th day of June 2009, I electronically transmitted the
 foregoing document to the Clerk of Court using the ECF System for filing and transmittal
 of a Notice of Electronic Filing to the following ECF registrants:

        Lindsey Kent Springer
        Defendant

        Oscar Amos Stilley
        Defendant

        Robert Williams
        Standby Counsel assigned to Lindsey Kent Springer

        Charles Robert Burton, IV
        Standby Counsel assigned to Oscar Amos Stilley.




                                           /s/ Charles A. O’Reilly
                                           Trial Attorney, Dept. of Justice
